                             Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 1 of 53

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Unity Electrical Services, LLC



    2. All other names debtor used                Unity Services
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   8      3 – 1    0   9    7   3    8   4
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business

                                                   11803 Grant Rd Suite 102                                    11822 Meadowview Dr
                                                   Number          Street                                      Number        Street



                                                                                                               P.O. Box
                                                   Cypress, TX 77429
                                                   City                                  State   ZIP Code       Cypress, TX 77429-2721
                                                                                                               City                              State      ZIP Code


                                                   Harris                                                      Location of principal assets, if different from principal
                                                   County                                                      place of business

                                                                                                               11822 Meadowview Dr.
                                                                                                               Number        Street




                                                                                                               Cypress, TX 77429
                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)                     https://www.unityservices.team/



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor      Unity Electrical Services, LLC                                                                   Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    2     3   8   2

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
                                                   ❑
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                      ❑
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                        MM / DD / YYYY
                                                         Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor        Unity Electrical Services, LLC                                                                    Case number (if known)
             Name


  11. Why is the case filed in this        Check all that apply:
      district?
                                           ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ❑
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                           ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have          ✔ No
                                           ❑
      possession of any real
      property or personal property
                                           ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
      attention?                                       ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                             What is the hazard?


                                                       ❑ It needs to be physically secured or protected from the weather.
                                                       ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                             (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                             options).
                                                       ❑ Other
                                                       Where is the property?
                                                                                 Number        Street




                                                                                 City                                        State     ZIP Code
                                                       Is the property insured?
                                                       ❑ No
                                                       ❑ Yes.       Insurance agency
                                                                    Contact name
                                                                    Phone

          Statistical and administrative information

         13. Debtor’s estimation of        Check one:
             available funds?              ❑ Funds will be available for distribution to unsecured creditors.
                                           ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           ❑
                                                creditors.

         14. Estimated number of
                                               ✔ 1-49 ❑ 50-99
                                               ❑                                 ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                         ❑ 100-199 ❑ 200-999               ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets                  ❑ $0-$50,000                        ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                               ❑ $50,001-$100,000                  ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                               ✔ $100,001-$500,000
                                               ❑                                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                               ❑ $500,001-$1 million               ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
                             Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 4 of 53

Debtor        Unity Electrical Services, LLC                                                                    Case number (if known)
             Name



                                               ❑ $0-$50,000                             ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                               ❑ $50,001-$100,000                       ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                               ❑ $100,001-$500,000                      ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                               ✔ $500,001-$1 million
                                               ❑                                        ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of             petition.
             debtor
                                                      I have been authorized to file this petition on behalf of the debtor.

                                                      I have examined the information in this petition and have a reasonable belief that the information is true
                                                      and correct.

                                                 I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on     07/28/2023
                                                                     MM/ DD/ YYYY



                                                 ✘ /s/ Andrea Clara                                                   Printed name
                                                                                                                                          Andrea Clara
                                                     Signature of authorized representative of debtor


                                                     Title                    Managing Member



         18. Signature of attorney
                                                 ✘                     /s/ Susan Tran Adams                           Date      07/28/2023
                                                                                                                                MM/ DD/ YYYY
                                                     Signature of attorney for debtor



                                                      Susan Tran Adams
                                                     Printed name

                                                      TRAN SINGH, LLP
                                                     Firm name

                                                      2502 La Branch St.
                                                     Number          Street


                                                      Houston                                                            TX              77004
                                                     City                                                               State            ZIP Code



                                                                                                                          stran@ts-llp.com
                                                     Contact phone                                                       Email address



                                                      24075648                                                            TX
                                                     Bar number                                                          State




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                             Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 5 of 53

 Fill in this information to identify the case:

 Debtor name                         Unity Electrical Services, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)              Type of account                 Last 4 digits of account number
       3.1 Bank of America                                            Checking account                      0332                                       $1,641.94

       Additional Page Total - See continuation page for additional entries                                                                         $15,617.78

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                       $17,259.72
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑ Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                         page 1
                             Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 6 of 53

Debtor        Unity Electrical Services, LLC                                                                     Case number (if known)
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                             $0.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:                 $0.00                -                  $0.00                    = ...... ➔                         $26,773.51
                                     face amount                            doubtful or uncollectible accounts


         11b. Over 90 days old:                    $0.00                -                  $0.00                    = ...... ➔                         $30,832.62
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                       $57,606.13
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
                             Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 7 of 53

Debtor       Unity Electrical Services, LLC                                                              Case number (if known)
             Name



         None


  17. Total of Part 4
                                                                                                                                                     $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                Date of the last        Net book value of   Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest   for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                       $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.


Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                   page 3
                             Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 8 of 53

Debtor       Unity Electrical Services, LLC                                                              Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                         $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4
                             Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 9 of 53

Debtor       Unity Electrical Services, LLC                                                              Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

              Desk (7), Chairs (7), Mats (7), 4x8ft whiteboard (2), Black                  (Unknown)                                            $6,500.00
              Metal Bookshelves (4), Conference room table with 5
         39.1 chairs, Sofa, Rug, Side table (2), Lobby Chairs (2).



  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

              PC and Dual Monitors (7), Smart TV with Wall Mount (2),                      (Unknown)                                           $15,000.00
         41.1 Printers (4), IPads (8)


         Additional Page Total - See continuation page for additional entries                                                                  $60,550.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                               $82,050.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑ No. Go to Part 9.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         47.1 2021 Ford Transit Connect                                                    (Unknown)                                           $28,202.00


Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
                             Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 10 of 53

Debtor        Unity Electrical Services, LLC                                                                 Case number (if known)
             Name



         47.2 2021 Ford Transit Connect                                                      (Unknown)                                             $26,571.00


         47.3 2022 Ford Transit Connect                                                      (Unknown)                                             $31,565.00


         Additional Page Total - See continuation page for additional entries                                                                     $135,057.00

  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                  $221,395.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                         $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.




Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
                            Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 11 of 53

Debtor       Unity Electrical Services, LLC                                                              Case number (if known)
             Name



  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         None


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                     $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes


Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
                            Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 12 of 53

Debtor        Unity Electrical Services, LLC                                                             Case number (if known)
             Name


  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
                                Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 13 of 53

Debtor        Unity Electrical Services, LLC                                                                                         Case number (if known)
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                               $17,259.72

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                            $57,606.13

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                      $82,050.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                           $221,395.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $0.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                  $378,310.85         + 91b.                           $0.00



                                                                                                                                                                        $378,310.85
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                              page 9
                           Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 14 of 53

Debtor       Unity Electrical Services, LLC                                                               Case number (if known)
             Name



          Additional Page


       All cash or cash equivalents owned or controlled by the debtor                                                              Current value of debtor's
                                                                                                                                   interest

  3.   Checking, savings, money market, or financial brokerage accounts - Continued
       Name of institution (bank or brokerage firm)            Type of account                  Last 4 digits of account number
       3.2 Bank of America                                          Checking account                       4567                                 $1,703.61

       3.3 Bank of America                                          Checking account                       6120                                 $1,600.31

       3.4 Bank of America                                          Checking account                       6133                                 $9,700.44

       3.5 Bank of America                                           Savings account                       2317                                 $2,613.42


         General description                                                      Net book value of     Valuation method used      Current value of debtor's
                                                                                  debtor's interest     for current value          interest
                                                                                  (Where available)

  41. Office equipment - Continued
              Kitchen Appliances - Refrigerator, Microwave, Air Fryer,
              Coffee pot, Coffee station, Shelf unit, Water cooler,
         41.2 Water jug stand.                                                            (Unknown)                                              $1,500.00

              Spade shovel (8), Flat shovel (2), Ditch clean-out shovel
              (3), Sharpshooter shovel (4), Rake (2), Hoe (2), Pick axe
         41.3 (2), Sledgehammer (2), Post hole diggers, Wheel barrel.                     (Unknown)                                                $900.00

              1/2” EMT bender (5), 3/4” EMT bender (5), 1” EMT
         41.4 bender (3), 1.25” EMT bender (1).                                           (Unknown)                                                $850.00

              6ft A-frame ladder (5), 8ft A-frame ladder (5), 10ft
              A-frame ladder (2), 12ft A-frame ladder, 24ft extension
         41.5 ladder (3), 32ft extension ladder.                                          (Unknown)                                              $4,700.00

              Standard truck dolly, Appliance dolly, Carpet dolly (3),
              Material cart medium (2), Material cart large (2),
         41.6 Generator dolly.                                                            (Unknown)                                              $1,600.00

              ITool 6K wire tugger set with 4 jack stands, 600’ x 3.4”
              wire pulling rope, Dewalt cordless wire cutter, Dewalt
              cordless wire die crimper, Amprobe AT-35 UG locator,
              40 Calorie hot suit XL, Hot Gloves (9), Klein Circuit
              Tracer ET450 (9), Large Knock Out Set up to 4” NPT,
              Rigid power Pony pipe threader up to 2” with vice and
              oiler, Super tugger (older unit), PVC hot box, Corded
         41.7 bandsaw (2).                                                                (Unknown)                                             $35,000.00

              Bakers style scaffolding 18’ (2), 20’ Shipping container
              (2), 4 Ton Vehicle jack, Heavy duty shelving units (4),
              Medium duty shelving units (4), 96 Gallon trash cans
              (4), 55 Gallon metal barrels (8), Gang Box, Medium shop
              fans (3), Portable AC unit 200SqFt, Portable Generator
              9375W, Pop up tent, Folding tables, Folding chairs (25),
         41.8 Small trailers 5x7’ (2).                                                    (Unknown)                                             $16,000.00

         General description                                                      Net book value of     Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,   debtor's interest     for current value          interest
         or N-number)                                                             (Where available)

  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles - Continued
         47.4 2022 Chevrolet Express Cargo Van                                            (Unknown)                                             $40,567.00

         47.5 2022 Chevrolet Silverado                                                    (Unknown)                                             $32,622.00



Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                   page 10
                         Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 15 of 53

Debtor       Unity Electrical Services, LLC                                             Case number (if known)
            Name



          Additional Page


         47.6 2012 Ford Econcline                                        (Unknown)                                $4,429.00


         47.7 2012 Ford Econoline                                        (Unknown)                                $4,184.00


         47.8 2018 Ford Transit Van                                      (Unknown)                               $23,760.00


         47.9 2007 Ford F-550                                            (Unknown)                               $29,495.00




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                  page 11
                          Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 16 of 53
 Fill in this information to identify the case:

     Debtor name     Unity Electrical Services, LLC

     United States Bankruptcy Court for the:                 Southern                District of             Texas
                                                                                                   (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                          amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                           Column A                        Column B
        than one secured claim, list the creditor separately for each claim.                                               Amount of claim                 Value of collateral
                                                                                                                           Do not deduct the value         that supports this
                                                                                                                           of collateral.                  claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                            $22,053.00            $28,202.00
         Ally Financial
                                                             2021 Ford Transit Connect
        Creditor’s mailing address
                                                             Describe the lien
         P.o. Box 380902
         Minneapolis, MN 55438
                                                             Is the creditor an insider or related party?
        Creditor’s email address, if known
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
        Date debt was                                        Is anyone else liable on this claim?
        incurred
                                                             ❑ No
        Last 4 digits of                                     ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             ❑
        account
                                                             As of the petition filing date, the claim is:
        number
                                                             Check all that apply.
        Do multiple creditors have an interest               ❑ Contingent
        in the same property?                                ❑ Unliquidated
        ✔ No
        ❑                                                    ❑ Disputed
        ❑ Yes. Specify each creditor, including this
                 creditor, and its relative priority.




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                                   $153,824.95
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 5
                       Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 17 of 53
Debtor     Unity Electrical Services, LLC                                                         Case number (if known)
          Name




  Part 1:        Additional Page                                                                                   Column A                      Column B
                                                                                                                   Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                   Do not deduct the value       that supports this
 from the
                                                                                                                   of collateral.                claim
 previous page.

2.2 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                     lien                                                                           $22,018.24          $26,571.00
      Ally Financial
                                                     2021 Ford Transit Connect
     Creditor’s mailing address
                                                     Describe the lien
      P.o. Box 380902
      Minneapolis, MN 55438
                                                     Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                     ✔ No
                                                     ❑
                                                     ❑ Yes
     Date debt was                                   Is anyone else liable on this claim?
     incurred
                                                     ❑ No
     Last 4 digits of                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                     ❑
     account
                                                     As of the petition filing date, the claim is:
     number
                                                     Check all that apply.
     Do multiple creditors have an interest          ❑ Contingent
     in the same property?                           ❑ Unliquidated
     ✔ No
     ❑                                               ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 5
                       Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 18 of 53
Debtor     Unity Electrical Services, LLC                                                         Case number (if known)
          Name




  Part 1:        Additional Page                                                                                   Column A                      Column B
                                                                                                                   Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                   Do not deduct the value       that supports this
 from the
                                                                                                                   of collateral.                claim
 previous page.

2.3 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                     lien                                                                           $26,399.75          $31,565.00
      Ally Financial
                                                     2022 Ford Transit Connect
     Creditor’s mailing address
                                                     Describe the lien
      P.o. Box 380902
      Minneapolis, MN 55438
                                                     Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                     ✔ No
                                                     ❑
                                                     ❑ Yes
     Date debt was                                   Is anyone else liable on this claim?
     incurred
                                                     ❑ No
     Last 4 digits of                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                     ❑
     account
                                                     As of the petition filing date, the claim is:
     number
                                                     Check all that apply.
     Do multiple creditors have an interest          ❑ Contingent
     in the same property?                           ❑ Unliquidated
     ✔ No
     ❑                                               ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 5
                       Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 19 of 53
Debtor     Unity Electrical Services, LLC                                                         Case number (if known)
          Name




  Part 1:        Additional Page                                                                                   Column A                      Column B
                                                                                                                   Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                   Do not deduct the value       that supports this
 from the
                                                                                                                   of collateral.                claim
 previous page.

2.4 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                     lien                                                                           $42,133.30          $32,622.00
      Ally Financial
                                                     2022 Chevrolet Silverado
     Creditor’s mailing address
                                                     Describe the lien
      P.o. Box 380902
      Minneapolis, MN 55438
                                                     Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                     ✔ No
                                                     ❑
                                                     ❑ Yes
     Date debt was                                   Is anyone else liable on this claim?
     incurred
                                                     ❑ No
     Last 4 digits of                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                     ❑
     account
                                                     As of the petition filing date, the claim is:
     number
                                                     Check all that apply.
     Do multiple creditors have an interest          ❑ Contingent
     in the same property?                           ❑ Unliquidated
     ✔ No
     ❑                                               ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 5
                       Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 20 of 53
Debtor     Unity Electrical Services, LLC                                                         Case number (if known)
          Name




  Part 1:        Additional Page                                                                                   Column A                      Column B
                                                                                                                   Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                   Do not deduct the value       that supports this
 from the
                                                                                                                   of collateral.                claim
 previous page.

2.5 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                     lien                                                                           $41,220.66          $40,567.00
      Ally Financial
                                                     2022 Chevrolet Express Cargo Van
     Creditor’s mailing address
                                                     Describe the lien
      P.o. Box 380902
      Minneapolis, MN 55438
                                                     Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                     ✔ No
                                                     ❑
                                                     ❑ Yes
     Date debt was                                   Is anyone else liable on this claim?
     incurred
                                                     ❑ No
     Last 4 digits of                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                     ❑
     account
                                                     As of the petition filing date, the claim is:
     number
                                                     Check all that apply.
     Do multiple creditors have an interest          ❑ Contingent
     in the same property?                           ❑ Unliquidated
     ✔ No
     ❑                                               ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 5 of 5
Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 21 of 53
                            Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 22 of 53

 Fill in this information to identify the case:

 Debtor name                         Unity Electrical Services, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:   $146,517.00                   $146,517.00
                                                              Check all that apply.
       Internal Revenue Service
                                                              ❑ Contingent
       PO Box 7346                                            ❑ Unliquidated
       Philadelphia, PA 19101
                                                              ❑ Disputed
                                                              Basis for the Claim:
       Date or dates debt was incurred


                                                              Is the claim subject to offset?
       Last 4 digits of account                               ✔ No
                                                              ❑
       number                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Priority creditor’s name and mailing address           As of the petition filing date, the claim is:
2.2                                                           Check all that apply.
                                                              ❑ Contingent
                                                              ❑ Unliquidated
                                                              ❑ Disputed
                                                              Basis for the claim:
       Date or dates debt was incurred


                                                              Is the claim subject to offset?
       Last 4 digits of account
                                                              ❑ No
       number
                                                              ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of 6
                            Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 23 of 53

Debtor        Unity Electrical Services, LLC                                                                  Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $0.00
                                                                            Check all that apply.
       Amex
                                                                            ❑ Contingent
       Amazon Business Prime Card                                           ❑ Unliquidated
                                                                            ❑ Disputed
       P.O. box 981535                                                      Basis for the claim:
       El Paso, TX 79998                                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number         2   0   0    8

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $30,000.00
                                                                            Check all that apply.
       Bank of America
                                                                            ❑ Contingent
       P.O. Box 660441                                                      ❑ Unliquidated
                                                                            ❑ Disputed
       Dallas, TX 75266
                                                                            Basis for the claim: Business Credit Card
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number         6   1   1    8
                                                                            ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
       Corporation Service Company
                                                                            ❑ Contingent
       P.O. Box 2576                                                        ❑ Unliquidated
                                                                            ❑ Disputed
       Springfield, IL 62708
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
3.4                                                                         Check all that apply.
       First Corporate Solutions
                                                                            ❑ Contingent
       914 S St                                                             ❑ Unliquidated
                                                                            ❑ Disputed
       Sacramento, CA 95811-7025
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 6
                           Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 24 of 53

Debtor      Unity Electrical Services, LLC                                                                Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:              $5,596.88
                                                                        Check all that apply.
      Home Depot Credit Services
                                                                        ❑ Contingent
      P.O. Box 790345                                                   ❑ Unliquidated
                                                                        ❑ Disputed
      Saint Louis, MO 63179
                                                                        Basis for the claim: Business Credit Card
                                                                        Is the claim subject to offset?
      Date or dates debt was incurred                                   ✔ No
                                                                        ❑
      Last 4 digits of account number        4   7   1    2
                                                                        ❑ Yes

3.6 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:              $20,000.00
                                                                        Check all that apply.
      Quickbooks
                                                                        ❑ Contingent
      P.O. Box 351270                                                   ❑ Unliquidated
                                                                        ❑ Disputed
      New Braunfels, TX 78135
                                                                        Basis for the claim:
                                                                        Is the claim subject to offset?
      Date or dates debt was incurred                                   ✔ No
                                                                        ❑
      Last 4 digits of account number
                                                                        ❑ Yes

3.7 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:              $9,797.00
                                                                        Check all that apply.
      ServiceTitan, Inc.
                                                                        ❑ Contingent
      801 N. Brand Blvd Suite 700                                       ❑ Unliquidated
                                                                        ❑ Disputed
      Glendale, CA 91203
                                                                        Basis for the claim:
                                                                        Is the claim subject to offset?
      Date or dates debt was incurred        09/26/2022                 ✔ No
                                                                        ❑
      Last 4 digits of account number
                                                                        ❑ Yes

      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $95,145.06
3.8                                                                     Check all that apply.
      Simply Funding, LLC
                                                                        ❑ Contingent
      45 Broadway Suite 2450                                            ❑ Unliquidated
                                                                        ❑ Disputed
      New York, NY 10006
                                                                        Basis for the claim:
                                                                        Is the claim subject to offset?
      Date or dates debt was incurred                                   ✔ No
                                                                        ❑
      Last 4 digits of account number
                                                                        ❑ Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 6
                          Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 25 of 53

Debtor     Unity Electrical Services, LLC                                                              Case number (if known)
           Name




 Part 2: Additional Page

3.9 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $500,000.00
                                                                     Check all that apply.
      U.S. Small Business Administration
                                                                     ❑ Contingent
      1545 Hawkins Blvd. Suite 202                                   ❑ Unliquidated
                                                                     ❑ Disputed
      El Paso, TX 79925
                                                                     Basis for the claim: Loan
                                                                     Is the claim subject to offset?
     Date or dates debt was incurred                                 ✔ No
                                                                     ❑
     Last 4 digits of account number
                                                                     ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                       page 4 of 6
                             Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 26 of 53

Debtor        Unity Electrical Services, LLC                                                                  Case number (if known)
              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     CESC - Covid EIDL Service Center                                            Line 3.9

         14925 Kingsport rd.                                                         ❑ Not listed. Explain
         Fort Worth, TX 76155

 4.2     U.S. Small Business Administration                                          Line 3.9

         10737 Gateway West #300                                                     ❑ Not listed. Explain
         El Paso, TX 79935




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page 5 of 6
                          Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 27 of 53

Debtor       Unity Electrical Services, LLC                                                       Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $146,517.00




  5b. Total claims from Part 2                                                     5b.              $660,538.94
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $807,055.94
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 6 of 6
                            Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 28 of 53

 Fill in this information to identify the case:

 Debtor name                         Unity Electrical Services, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                         Chapter   11                                                     ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            Software Contract                            ServiceTitan, Inc.
2.1    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       801 N. Brand Blvd Suite 700
                                                                                          Glendale, CA 91203
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or            Uniforms Contract                            Cintas
2.2    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       PO Box 650838
                                                                                          Dallas, TX 75265
       State the term remaining              11 months

       List the contract number of
       any government contract

       State what the contract or            GPS                                          Fleet Locate
2.3    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       1350 Reynolds Ave Suite 116
                                                                                          Irvine, CA 92614
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or            Phone Service                                Comcast business
2.4    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       Po box 60533
                                                                                          City of Industry, CA 91716
       State the term remaining              11 months

       List the contract number of
       any government contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 2
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Debtor      Unity Electrical Services, LLC                                                                   Case number (if known)
           Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                             State the name and mailing address for all other parties with whom the
                                                                                       debtor has an executory contract or unexpired lease

         State what the contract or          Wireless Phone Service for iPads           Verizon
2.5      lease is for and the nature
         of the debtor’s interest            Contract to be ASSUMED                     by American InfoSource as agent
                                                                                        PO Box 4457
         State the term remaining            2 months
                                                                                        Houston, TX 77210
         List the contract number of
         any government contract

         State what the contract or          Website Hosting                            Wix.com, Inc.
2.6      lease is for and the nature
         of the debtor’s interest            Contract to be ASSUMED                     100 Gansevoort St
                                                                                        New York, NY 10014
         State the term remaining            1 months

         List the contract number of
         any government contract

         State what the contract or          Software Contract                          Schedule Engine
2.7      lease is for and the nature
         of the debtor’s interest            Contract to be REJECTED                    333 N Michigan Ave
                                                                                        Chicago, IL 60601
         State the term remaining            0 months

         List the contract number of
         any government contract

         State what the contract or          Software MarketingPro                      ServiceTitan, Inc.
2.8      lease is for and the nature
         of the debtor’s interest            Contract to be REJECTED                    801 N. Brand Blvd Suite 700
                                                                                        Glendale, CA 91203
         State the term remaining            0 months

         List the contract number of
         any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                     page 2 of 2
                        Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 30 of 53
 Fill in this information to identify the case:

  Debtor name          Unity Electrical Services, LLC


  United States Bankruptcy Court for the:              Southern            District of             Texas

                                                                                                                                     ❑ Check if this is an
                                                                                         (State)
  Case number (If known):
                                                                                                                                          amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                                Name
                                                                                                                                      that apply:

 2.1     Clara, Andrea                      11822 Meadowview Dr.                                           Simply Funding, LLC        ❑D
                                            Street                                                                                    ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                            Cypress, TX 77429                                              Ally Financial             ✔D
                                                                                                                                      ❑
                                            City                   State                  ZIP Code                                    ❑ E/F
                                                                                                                                      ❑G
                                                                                                           Ally Financial             ✔D
                                                                                                                                      ❑
                                                                                                                                      ❑ E/F
                                                                                                                                      ❑G
                                                                                                           Ally Financial             ✔D
                                                                                                                                      ❑
                                                                                                                                      ❑ E/F
                                                                                                                                      ❑G
                                                                                                           Ally Financial             ✔D
                                                                                                                                      ❑
                                                                                                                                      ❑ E/F
                                                                                                                                      ❑G
                                                                                                           Ally Financial             ✔D
                                                                                                                                      ❑
                                                                                                                                      ❑ E/F
                                                                                                                                      ❑G
 2.2                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                   State                  ZIP Code




Official Form 206H                                                  Schedule H: Codebtors                                                      page 1 of    2
                     Case 23-32844 Document 1 Filed in TXSB on 07/28/23 Page 31 of 53
Debtor      Unity Electrical Services, LLC                                                Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.3                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.4                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
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 Fill in this information to identify the case:

 Debtor name                                      Unity Electrical Services, LLC

 United States Bankruptcy Court for the:
                                           Southern District of Texas


 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                       12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                            $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                       $378,310.85

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                       $378,310.85




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                       $153,824.95



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                          $146,517.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +           $660,538.94




 4. Total liabilities..............................................................................................................................................................................                    $960,880.89

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                          page 1
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 Fill in this information to identify the case:

 Debtor name                          Unity Electrical Services, LLC

 United States Bankruptcy Court for the:
                                  Southern District of Texas


 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                     $986,777.01
                                                                                         ❑ Other
       fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                   From 01/01/2022          to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                   $1,846,059.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:         From 01/01/2021          to    12/31/2021       ✔ Operating a business
                                                                                         ❑                                                   $1,032,413.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                   From 01/01/2022          to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:         From 01/01/2021          to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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                                                                              Case number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                          Dates             Total amount or value         Reasons for payment or transfer
                                                                                                              Check all that apply

 3.1.   Elliott Electric Supply                               07/20/2023                   $6,614.17          ❑ Secured debt
        Creditor's name
                                                                                                              ❑ Unsecured loan repayments
        2501 Cavitt Ave                                                                                       ✔ Suppliers or vendors
                                                                                                              ❑
        Street
                                                                                                              ❑ Services
                                                                                                              ❑ Other
        Bryan, TX 77801
        City                           State      ZIP Code

 3.2.   City Electric Supply                                  07/03/2023                   $7,832.76          ❑ Secured debt
        Creditor's name
                                                                                                              ❑ Unsecured loan repayments
                                                                                                              ✔ Suppliers or vendors
                                                                                                              ❑
                                                                                                              ❑ Services
        Street


                                                                                                              ❑ Other
        City                           State      ZIP Code

 3.3.   Ally Financial                                        7/24/23                        $716.50          ✔ Secured debt
                                                                                                              ❑
        Creditor's name
                                                                                                              ❑ Unsecured loan repayments
        P.o. Box 380902
        Street
                                                                                                              ❑ Suppliers or vendors
                                                                                                              ❑ Services
                                                                                                              ❑ Other
        Minneapolis, MN 55438
        City                           State      ZIP Code

 3.4.   Ally Financial                                        07/24/2023                   $1,660.00          ✔ Secured debt
                                                                                                              ❑
        Creditor's name
                                                                                                              ❑ Unsecured loan repayments
        P.o. Box 380902
        Street
                                                                                                              ❑ Suppliers or vendors
                                                                                                              ❑ Services
                                                                                                              ❑ Other
        Minneapolis, MN 55438
        City                           State      ZIP Code

 3.5.   Ally Financial                                        07/24/23                       $836.17          ✔ Secured debt
                                                                                                              ❑
        Creditor's name
                                                                                                              ❑ Unsecured loan repayments
        P.o. Box 380902
        Street
                                                                                                              ❑ Suppliers or vendors
                                                                                                              ❑ Services
                                                                                                              ❑ Other
        Minneapolis, MN 55438
        City                           State      ZIP Code




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 2
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                                                                              Case number (if known)
                 Name



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                           Dates             Total amount or value           Reasons for payment or transfer


 4.1.   Clara, Andrea                                         07/2022-07/2023             $83,469.80            Compensation
        Creditor's name
        11822 Meadowview Dr.
        Street



        Cypress, TX 77429
        City                           State      ZIP Code

         Relationship to debtor



 4.2.   Joseph Blanco                                         01/2023-07/2023             $41,549.61            Compensation
        Creditor's name
        11822 Meadowview Dr.
        Street



        Cypress, TX 77429
        City                           State      ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                          Description of the property                              Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                           State      ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                          Description of the action creditor took                  Date action was         Amount
                                                                                                                       taken




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
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                 Name

 6.1.
        Creditor's name
                                                               XXXX–
        Street




        City                           State      ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ✔ None
        ❑
 7.1.    Case title                                 Nature of case                         Court or agency's name and address               Status of case

                                                                                                                                           ❑ Pending
                                                                                        Name
                                                                                                                                           ❑ On appeal
         Case number                                                                    Street
                                                                                                                                           ❑ Concluded


                                                                                        City                         State     ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                        Description of the property                       Value


        Custodian’s name
                                                             Case title                                        Court name and address
        Street
                                                                                                              Name

                                                             Case number                                      Street
        City                           State      ZIP Code



                                                             Date of order or assignment                      City                        State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ❑ None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 4
Debtor
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                                                                               Case number (if known)
                  Name
 9.1.     Recipient’s name and address                         Description of the gifts or contributions              Dates given              Value

         Abba's House                                         Charitable Contribution                                 07/25/2022                        $1,500.00
         Recipient’s name


         Street




         City                           State      ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the            Amount of payments received for the loss                     Date of loss     Value of property
           loss occurred                                           If you have received payments to cover the loss, for                          lost
                                                                   example, from insurance, government compensation,
                                                                   or tort liability, list the total received.
                                                                   List unpaid claims on Official Form 106A/B (Schedule
                                                                   A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ✔ None
         ❑
 11.1.    Who was paid or who received the transfer?                If not money, describe any property transferred        Dates                 Total amount or
                                                                                                                                                 value




          Address


         Street




         City                           State      ZIP Code


          Email or website address



          Who made the payment, if not debtor?




Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 5
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                                                                             Case number (if known)
                Name



 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                              Describe any property transferred                      Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                          Description of property transferred or payments           Date transfer       Total amount or
                                                              received or debts paid in exchange                        was made            value




          Address


         Street




         City                         State      ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ❑ Does not apply
          Address                                                                                           Dates of occupancy

 14.1. 11107 Lori Falls Ct.                                                                                From     01/01/2017        To 10/30/2020
       Street



         Houston, TX 77065
         City                         State      ZIP Code




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6
Debtor
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                Name
 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                      Nature of the business operation, including type of services the          If debtor provides meals
                                                         debtor provides                                                           and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                         Location where patient records are maintained(if different from           How are records kept?
                                                         facility address). If electronic, identify any service provider.
         City                     State    ZIP Code                                                                               Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ❑ No.
         ✔ Yes. State the nature of the information collected and retained. Names, addresses, and contact information.
         ❑
                  Does the debtor have a privacy policy about that information?
                  ✔ No
                  ❑
                  ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ❑ None
          Financial institution name and address           Last 4 digits of account      Type of account             Date account was          Last balance
                                                           number                                                    closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer


Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
Debtor
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                                                                              Case number (if known)
                 Name


 18.1 Bank of America                                        XXXX–                       ✔ Checking
                                                                                         ❑                           06/27/2023                $0.00
                                                                                         ❑ Savings
      Name
        4909 Savarese Circle FL1-908-01-50
        Street                                                                           ❑ Money market
                                                                                         ❑ Brokerage
        Tampa, FL 33634                                                                  ❑ Other
        City                         State     ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address             Names of anyone with access to it         Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                             Address

        City                         State     ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑
 20.1    Facility name and address                           Names of anyone with access to it         Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                             Address

        City                         State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
        leased or rented property.
        ✔ None
        ❑
         Owner’s name and address                                   Location of the property                  Description of the property                 Value


        Name


        Street




        City                           State      ZIP Code




Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 8
Debtor
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               Unity Electrical Services, LLC
                                                                                   Page 41 of 53
                                                                            Case number (if known)
               Name
 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                                  Court or agency name and address                     Nature of the case                          Status of case

                                                                                                                                                     ❑ Pending
         Case number
                                                    Name
                                                                                                                                                     ❑ On appeal
                                                    Street
                                                                                                                                                     ❑ Concluded


                                                    City                       State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                       Governmental unit name and address                   Environmental law, if known                 Date of notice


      Name                                          Name


      Street                                        Street




      City                    State   ZIP Code      City                       State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                       Governmental unit name and address                   Environmental law, if known                 Date of notice


      Name                                          Name


      Street                                        Street




      City                    State   ZIP Code      City                       State   ZIP Code




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                                                                              Case number (if known)
                 Name




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                    Describe the nature of the business                        Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:          –
         Name
                                                                                                                  Dates business existed
         Street
                                                                                                                From                  To



         City                   State   ZIP Code


 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                        Dates of service

 26a.1.
                                                                                                                  From                 To
          Name


          Street




          City                                             State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                        Dates of service

 26b.1.
                                                                                                                  From                 To
          Name


          Street




          City                                             State                  ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ✔None
          ❑




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                  Unity Electrical Services, LLC
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                                                                               Case number (if known)
                  Name

            Name and address                                                                                      If any books of account and records are
                                                                                                                  unavailable, explain why
 26c.1.


           Name


           Street




           City                                                State                ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address

 26d.1.
           Name


           Street




           City                                                State                ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
           Name of the person who supervised the taking of the inventory                          Date of           The dollar amount and basis (cost, market, or
                                                                                                  inventory         other basis) of each inventory




           Name and address of the person who has possession of inventory records

 27.1.
          Name


          Street




          City                                         State             ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
           Name                              Address                                                    Position and nature of any           % of interest, if any
                                                                                                        interest

         Andrea Guadalupe Clara             11822 Meadowview Dr. Cypress, TX 77429                     CEO, Equity Interest Holder                      100.00%
         Calderon

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
           Name                              Address                                                    Position and nature of any     Period during which
                                                                                                        interest                       position or interest was
                                                                                                                                       held




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
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                                                                               Case number (if known)
                Name

                                                                                                       ,                                  From
                                                                                                                                          To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name and address of recipient                                             Amount of money or description           Dates               Reason for providing
                                                                                    and value of property                                        the value


 30.1.
         Name


         Street




         City                                          State         ZIP Code


          Relationship to debtor



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the parent corporation                                                         Employer Identification number of the parent corporation

                                                                                                      EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the pension fund                                                               Employer Identification number of the pension fund

                                                                                                      EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on             07/28/2023
                        MM/ DD/ YYYY




    ✘ /s/ Andrea Clara                                                      Printed name                      Andrea Clara
           Signature of individual signing on behalf of the debtor



         Position or relationship to debtor        Managing Member



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                                                                         Case number (if known)
            Name




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                page 13
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 Fill in this information to identify the case:

 Debtor name                         Unity Electrical Services, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Ally Financial                                                                                                        $42,133.30        $32,622.00            $9,511.30
      P.o. Box 380902
      Minneapolis, MN 55438


2     Ally Financial                                                                                                        $41,220.66        $40,567.00             $653.66
      P.o. Box 380902
      Minneapolis, MN 55438


3     Bank of America                                                         Business Credit                                                                      $30,000.00
      P.O. Box 660441                                                         Card
      Dallas, TX 75266


4     Home Depot Credit Services                                              Business Credit                                                                       $5,596.88
      P.O. Box 790345                                                         Card
      Saint Louis, MO 63179


5     Internal Revenue Service                                                                                                                                    $146,517.00
      PO Box 7346
      Philadelphia, PA 19101


6     Quickbooks                                                                                                                                                   $20,000.00
      P.O. Box 351270
      New Braunfels, TX 78135


7     ServiceTitan, Inc.                                                                                                                                            $9,797.00
      801 N. Brand Blvd Suite 700
      Glendale, CA 91203


8     Simply Funding, LLC                                                                                                                                          $95,145.06
      45 Broadway Suite 2450
      New York, NY 10006



Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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Debtor       Unity Electrical Services, LLC                                                                       Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,             Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of                (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                    debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                       partially          value of         claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
9     U.S. Small Business                                                     Loan                                                                           $500,000.00
      Administration
      1545 Hawkins Blvd. Suite 202
      El Paso, TX 79925

10




11




12




13




14




15




16




17




18




19




20




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Southern District of Texas

In re        Unity Electrical Services, LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                              $0.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                             $0.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        07/28/2023                                            /s/ Susan Tran Adams
                Date                                         Susan Tran Adams
                                                             Signature of Attorney
                                                                                            Bar Number: 24075648
                                                                                                TRAN SINGH, LLP
                                                                                                2502 La Branch St.
                                                                                                Houston, TX 77004
                                                                                            Phone: (832) 975-7300

                                                                               TRAN SINGH, LLP
                                                            Name of law firm




                                                                 Page 2 of 2
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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                       SOUTHERN DISTRICT OF TEXAS
                                                             HOUSTON DIVISION

IN RE: Unity Electrical Services, LLC                                                  CASE NO

                                                                                       CHAPTER 11




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       07/28/2023            Signature                                 /s/ Andrea Clara
                                                                     Andrea Clara, Managing Member
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                       Ally Financial
                       P.o. Box 380902
                       Minneapolis, MN 55438




                       Amex
                       Amazon Business Prime Card
                       P.O. box 981535
                       El Paso, TX 79998



                       Bank of America
                       P.O. Box 660441
                       Dallas, TX 75266




                       CESC - Covid EIDL Service
                       Center
                       14925 Kingsport rd.
                       Fort Worth, TX 76155



                       Cintas
                       PO Box 650838
                       Dallas, TX 75265




                       Andrea Clara
                       11822 Meadowview Dr.
                       Cypress, TX 77429




                       Comcast business
                       Po box 60533
                       City of Industry, CA 91716




                       Corporation Service Company
                       P.O. Box 2576
                       Springfield, IL 62708
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                       First Corporate Solutions
                       914 S St
                       Sacramento, CA 95811-7025




                       Fleet Locate
                       1350 Reynolds Ave Suite 116
                       Irvine, CA 92614




                       Home Depot Credit Services
                       P.O. Box 790345
                       Saint Louis, MO 63179




                       Internal Revenue Service
                       PO Box 7346
                       Philadelphia, PA 19101




                       Quickbooks
                       P.O. Box 351270
                       New Braunfels, TX 78135




                       Schedule Engine
                       333 N Michigan Ave
                       Chicago, IL 60601




                       ServiceTitan, Inc.
                       801 N. Brand Blvd Suite 700
                       Glendale, CA 91203




                       Simply Funding, LLC
                       45 Broadway Suite 2450
                       New York, NY 10006
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                       U.S. Small Business
                       Administration
                       10737 Gateway West #300
                       El Paso, TX 79935



                       U.S. Small Business
                       Administration
                       1545 Hawkins Blvd. Suite 202
                       El Paso, TX 79925



                       Verizon
                       by American InfoSource as agent
                       PO Box 4457
                       Houston, TX 77210



                       Wix.com, Inc.
                       100 Gansevoort St
                       New York, NY 10014
